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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

BUZZFEED INC.,                                     )
111 East 18th Street, 13th Floor                   )
New York, NY 10003                                 )
                                                   )
        Plaintiff,                                 )
                                                   )
        v.                                         )
                                                   )
U.S. IMMIGRATION & CUSTOMS                         )
ENFORCEMENT,                                       )
Office of General Counsel                          )
United States Department of Homeland Security      )
Washington, D.C. 20258                             )
                                                   )
U.S. DEPARTMENT OF HOMELAND                        )
SECURITY,                                          )
245 Murray Lane SW                                 )
Mail Stop 0485                                     )
Washington, D.C. 20528-0485                        )
                                                   )
        Defendants.                                )

                                        COMPLAINT

        1.      Plaintiff BUZZFEED INC. files this Freedom of Information Act suit to force

Defendants U.S. DEPARTMENT OF HOMELAND SECURITY and U.S. IMMIGRATION &

CUSTOMS ENFORCEMENT to comply with the clear statutory requirement that they

“promptly” release records related to solitary confinement that were requested over nine months

ago.

                                          PARTIES

        2.      Plaintiff BUZZFEED INC. is a member of the media and made the FOIA requests

at issue in this case.

        3.      Defendant U.S. DEPARTMENT OF HOMELAND SECURITY (“DHS”) is a

federal agency subject to the Freedom of Information Act, 5 U.S.C. § 552.
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        4.       Defendant U.S. IMMIGRATION & CUSTOMS ENFORCEMENT is a federal

agency and component of DHS and is subject to the Freedom of Information Act, 5 U.S.C. §

552.

                                    JURISDICTION AND VENUE

        5.       This case is brought under 5 U.S.C. § 552(a)(6)(c)(i) and presents a federal

question conferring jurisdiction on this Court.

        6.       Venue is proper under 5 U.S.C. § 552(a)(4)(B).

                                             BACKGROUND

        7.       Solitary confinement, also known as segregation, is the total or near-total isolation

of prisoners, often in small cells for 23 hours a day.

        8.       The United Nations Special Rapporteur of the Human Rights Council has found

that prolonged solitary confinement can amount to torture. 1

        9.       Solitary confinement of more than 15 days may lead to irreversible psychological

damage. 2

        10.      ICE policies state that placement in segregation should occur only when

necessary and in compliance with applicable detention standards and requires additional review

and oversight of decisions to retain detainees in segregation for over 14 days. 3

                                 DEFENDANTS’ FOIA VIOLATION

        11.      On September 15, 2017, BUZZFEED requested from ICE, for the time period

beginning January 1, 2016, all written notices to each ICE field office director of instances when

a detainee has been held continuously in segregation, and all subsequent reviews conducted by


1
  Solitary Confinement Should be Banned in Most Cases, UN Expert Says, UN News (Oct. 18, 2011),
https://news.un.org/en/story/2011/10/392012-solitary-confinement-should-be-banned-most-cases-un-expert-says.
2
  Id.
3
  U.S. Immigration & Customs Enforcement, Review of the Use of Segregation for ICE Detainees 1 (Sep. 4, 2013),
https://www.ice.gov/doclib/detention-reform/pdf/segregation_directive.pdf.



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the field office director. A true and correct copy of the full request, which has been paraphrased

here, is attached as Exhibit A.

        12.      As of October 2, 2017, ICE had acknowledged receipt of the request and granted

expedited processing, but had not provided a determination or estimated completion date.

        13.      During the time period of October 2, 2017, through February 26, 2018,

BUZZFEED contacted ICE multiple times to obtain an estimated completion date but ICE failed

to provide one.

        14.      On February 26, 2018, ICE provided an estimated completion date of December

20, 2017. That date is not a typo; ICE provided an estimated completion date that was two

months in the past. A true and correct copy of the email chain referenced in this paragraph and

the preceding paragraph is attached as Exhibit B.

        15.      While no administrative appeal was required, BUZZFEED submitted an appeal

on March 16, 2018. A true and correct copy is attached as Exhibit C.

        16.      In response to the appeal, on April 4, 2018, DHS provided no estimated

completion date, instead stating that “[i]n many instances, an agency cannot meet [the twenty

day] time limits due to a high volume of requests, resource limitations, and other reasons,” and

remanded the appeal to ICE for a direct response. A true and correct copy is attached as Exhibit

D.

        17.      ICE has provided no further response to the request and no estimated completion

date.

                              COUNT I – VIOLATION OF FOIA

        18.      The above paragraphs are incorporated herein.

        19.      Defendants are agencies subject to FOIA.

        20.      Plaintiff made a FOIA request to Defendants for agency records of Defendants.


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      21.      One or more of the requested record are not exempt from disclosure.

      22.      Defendants have failed to produce the requested records.

WHEREFORE, Plaintiff asks the Court to:

         i.    Order Defendants to conduct a reasonable search for records and promptly

               produce all non-exempt requested records;

        ii.    Award Plaintiff attorney fees and costs; and

       iii.    Enter any other relief the Court deems appropriate.


DATED: June 25, 2018
                                                    Respectfully Submitted,

                                                    /s/ Matthew Topic

                                                    Attorneys for Plaintiffs

                                                    Matthew Topic
                                                    (E-Mail: foia@loevy.com)
                                                    LOEVY & LOEVY
                                                    311 N. Aberdeen, Third Floor
                                                    Chicago, IL 60607
                                                    Tel.: (312) 243-5900
                                                    Fax (312) 243-5902
                                                    Bar No. IL0037

                                                    Matthew Schafer
                                                    (E-Mail: matthew.schafer@buzzfeed.com)
                                                    BUZZFEED INC.
                                                    111 East 18th Street, 13th Floor
                                                    New York, NY 10003
                                                    Tel.: (646) 660-0693
                                                    Fax: (212) 431-7461
                                                    Bar No. 1008728




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